
82 So.3d 1210 (2012)
Willie J. BROOKS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-6591.
District Court of Appeal of Florida, First District.
March 22, 2012.
Willie J. Brooks, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
Prior report: 77 So.3d 213.
PER CURIAM.
Upon consideration of the special master's report and recommendation, the petition seeking a belated appeal of the order rendered June 21, 2011, denying petitioner's motion for postconviction relief in Columbia County Circuit Court case number 2007-415-CF, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal.
PADOVANO, LEWIS, and WETHERELL, JJ., concur.
